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                Exhibit 9
                Case 1:19-cv-09236-KPF Document 220-9 Filed 07/28/22 Page 2 of 10
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                EXHIBIT A TO SUBPOENA TO PRODUCE DOCUMENTS

                     DEFINITIONS AND RULES OF CONSTRUCTION

       1.      The Uniform Definitions in Discovery Requests set forth in Rule 26.3 of the

Local Civil Rules of The United States District Courts for the Southern and Eastern Districts of

New York are incorporated herein by reference.

       2.      “Action” refers to the above-captioned action, In re Tether and Bitfinex Crypto

Asset Litigation, Case No. 1:19-cv-09236-KPF, in the United States District Court for the

Southern District of New York.

       3.      “Is Bitcoin Really Un-Tethered?” refers to Griffin, John M. and Shams, Amin, “Is

Bitcoin Really Un-Tethered?,” August 2020, The Journal of Finance, Vol. 75, No. 4: 1913-1964,

and all prior and subsequent drafts or versions of the same.

       4.      “Bitcoin” refers to the native Digital Asset of the Bitcoin Blockchain.

       5.      “Blockchain” refers to a peer-to-peer database spread across a network of

computers that securely records all transactions in theoretically unchangeable, digitally recorded

data packages based on cryptographic techniques.

       6.       “Digital Asset” refers to an asset issued or transferred using distributed ledger or

Blockchain technology, including assets sometimes referred to as “cryptocurrencies,” “virtual

currencies,” or “digital coins.”

       7.      “Representative” means any present or former officers, executives, partners, joint-

venturers, directors, trustees, employees, consultants, accountants, attorneys, agents, as well as

any other Person or other entity associated with, acting or purporting to act on behalf of, or

acting under the direction or control of one or more of the foregoing.
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       8.      “USDT” refers to the Digital Asset issued by Tether and has the same meaning as

the term “Tether” as used in “Is Bitcoin Really Un-Tethered?”

       9.      “You” and “Your” mean John M. Griffin, as well as any representatives of John

M. Griffin.

       10.     The rules of construction set forth in Rule 26.3(d) of the Local Civil Rules of The

United States District Courts for the Southern and Eastern Districts of New York shall apply to

these requests; and the word “including” means “including without limitation.”

                                        INSTRUCTIONS

       1.      These Requests apply to all documents in Your possession, custody, or control or

to which You are legally entitled to access, regardless of their location and regardless of whether

such documents are held by You or any other person or entity otherwise subject to Your control.

       2.      If any portion of a document is considered responsive to any request, the request

shall be construed as requesting production of the entire document.

       3.      Except when express reference is made to another paragraph, each paragraph

herein should be construed independently and not by reference to any other paragraph herein for

purpose of limitation.

       4.      Questions regarding the interpretation of these document requests should be

resolved in favor of the broadest possible construction.

       5.      All electronically stored information shall be produced in conformity with the

Court’s Stipulation and Order Governing the Exchange of Electronically Stored Information,

which was entered in this Action on December 20, 2021.

       6.      If any documents or parts of documents called for by this demand are withheld

under a claim of privilege or work product, a list shall be furnished setting forth as to each



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document the following information: (a) the nature of the document, e.g., letter, memorandum,

telegram, etc.; (b) the name, address, occupation, title, and business affiliation of each person

who prepared, received, viewed, and has or has had possession, custody, or control of the

document; (c) the date of the document; (d) a description of the subject matter of the document;

(e) a statement of the basis upon which the privilege or work product claim is made; and (f) the

paragraph(s) of this request that call for production of the document.

       7.      If part of an otherwise responsive document contains information that is subject to

a claim of privilege, those parts of the document subject to the claim of privilege shall be deleted

or redacted from the document, the deleted or redacted parts shall be clearly marked as such, and

the rest of the document shall be produced.

       8.      If You cannot respond to these document requests in full after exercising due

diligence to secure the documents requested, You shall so state and respond to the extent

possible, specifying the nature of his inability to respond to the remainder.

       9.      If any of these requests is objected to, You shall serve a response stating with

particularity the reasons for the objection, and shall produce the requested documents to the

extent that the request is not objectionable.

       10.     If You contend that a particular request, or a definition or an instruction

applicable thereto, is ambiguous, You are requested to set forth in Your written response the

allegedly ambiguous language and the interpretation of that language that You have adopted in

responding to the request in question.

       11.     Unless otherwise indicated, these requests call for the production of documents

created, edited, sent, or received between February 17, 2015 and the present, inclusive.




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                                     DOCUMENT REQUESTS

       1.      All documents constituting, evidencing, memorializing, or discussing any

communication to or from any lawyer or other personnel associated with, representing, or acting

on behalf of any of the following:

               a.     Selendy & Gay PLLC

               b.     Roche Freedman LLP

               c.     Schneider Wallace Cottrell Konecky LLP

               d.     Cyrulnik Fattaruso LLP

               e.     Hausfeld LLP

               f.     Kirby McInerney LLP

               g.     Glancy Prongay & Murray LLP

               h.     Robbins Geller Rudman & Dowd LLP

               i.     Any other law firm or attorney representing or purporting to represent any

                      individual or class of individuals allegedly injured by the conduct of all or

                      any of the following: iFinix Inc., Bitfinix, BFXNA Inc., BFXWW Inc.,

                      Tether Holdings Limited, Tether Operations Limited, Tether Limited,

                      Tether International Limited, DigFinex, Ludovicus Jan van der Velde,

                      Giancarlo Devasini, Philip G. Potter, Bittrex, Poloniex, Crypto Capital

                      Corp., and/or Reginald Fowler.

               j.     Hindenberg Research

       2.      All documents constituting, evidencing, memorializing, or discussing any

communication to or from any of the following persons, or any person acting or purporting to act

on behalf of or representing any of the following persons:

               a.     David Leibowitz

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              b.     Benjamin Leibowitz

              c.     Jason Leibowitz

              d.     Aaron Leibowitz

              e.     Pinchas Goldshtein

              f.     Matthew Script

              g.     Eric Young

              h.     Adam Kurtz

              i.     David Crystal

              j.     Bryan Faubus

              k.     Joseph Ebanks

              l.     Any person allegedly injured or claiming to be injured by the conduct of

                     all or any of the following: iFinix Inc., Bitfinix, BFXNA Inc., BFXWW

                     Inc., Tether Holdings Limited, Tether Operations Limited, Tether Limited,

                     Tether International Limited, DigFinex, Ludovicus Jan van der Velde,

                     Giancarlo Devasini, Philip G. Potter, Bittrex, Poloniex, Crypto Capital

                     Corp., and/or Reginald Fowler.

       3.      All documents constituting, evidencing, memorializing, or discussing any

communication to or from any person claiming to be the “large trader” referenced in “Is Bitcoin

Really Un-Tethered?.”

       4.     All documents constituting, evidencing, memorializing, or discussing any

communication to or from any person claiming to have executed a Bitcoin and/or USDT

arbitrage trading strategy during the period of the study described in “Is Bitcoin Really Un-

Tethered?.”



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       5.      All documents constituting, evidencing, memorializing, or discussing any and all

work papers, research, financial or economic models, testing, work-in-progress, and/or drafts of

“Is Bitcoin Really Un-Tethered?” or the conclusions reached therein.

       6.      All documents constituting, evidencing, memorializing, or discussing any peer-

review, or any response to any peer-review, of “Is Bitcoin Really Un-Tethered?” or the

conclusions reached therein.

       7.      All documents constituting, evidencing, memorializing, or discussing any

research or analysis regarding USDT’s financial backing or reserves.

       8.      All documents constituting, evidencing, memorializing, or discussing any

research or analysis regarding any manipulation of the market for Bitcoin.

       9.      All documents constituting, evidencing, memorializing, or discussing any

research or analysis regarding any manipulation of the market for any other digital asset.

       10.     All documents constituting, evidencing, memorializing, or discussing any post or

direct message regarding USDT written by you on any social media platform, including but not

limited to Twitter, Reddit, or Facebook.

       11.     To the extent not produced in response to the foregoing requests, all documents

concerning or relating to the Action.

       12.     All documents concerning any written or oral agreement with any of the persons

listed in Requests 1 and 2, above.




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